Case No. 1:23-cv-01108-DDD-SKC Document 14-3 filed 07/18/23 USDC Colorado pg 1 of
                                      2



                                  IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLORADO

  BARRY L. MORPHEW,                                                        )
                                     Plaintiff,                            )
  V.                                                                       )
                                                                           )
  Chaffee County, Colorado,                                                )
  Board of County Commissioners of Chaffee County, Colorado                )
  Chaffee County Sheriff’s Department                                      )
  District Attorney Linda Stanley, in her individual and official capacity )
  Chaffee County Sheriff John Spezze in his individual and official        )
  capacity,                                                                )
  Chaffee County Undersheriff Andrew Rohrich,                              ) Civil Action No. 23-cv-1108-KLM
  Eleventh Judicial District Attorney’s Office Investigator Alex Walker )
  Deputy District Attorney Jeffrey Lindsey                                 )
  Deputy District Attorney Mark Hurlbert                                   )
  Chaffee County Sheriff’s Detective Robin Burgess,                        )
  Chaffee County Sheriff’s Deputy Randy Carricato                          )
  Chaffee County Sheriff’s Deputy Scott Himschoot,                         )
  Chaffee County Sheriff Sergeant Claudette Hysjulien                      )
  Chaffee County Sheriff Sergeant William Plackner,                        )
  Colorado Bureau of Investigations Director John Camper                   )
  Colorado Bureau of Investigation Agent Joseph Cahill                     )
  Colorado Bureau of Investigation Agent Megan Duge                        )
  Colorado Bureau of Investigation Agent Caitlin Rogers                    )
  Colorado Bureau of Investigation Agent Derek Graham                      )
  Colorado Bureau of Investigation Agent Kevin Koback                      )
  Colorado Bureau of Investigation Agent Kirby Lewis                       )
  Colorado Bureau of Investigations Deputy Director of Investigations )
  Chris Schaefer                                                           )
  Federal Bureau of Investigations Agent Jonathan Grusing                  )
  Federal Bureau of Investigation Agent Kenneth Harris                     )
  John/Jane Does 1-10                                                      )
  and other unknown employees of the Eleventh Judicial District            )
  Attorney,                                                                )
  and other unknown officers of the Chaffee County Sheriff’s               )
  Department                                                               )
                                                                           )
                                       Defendants.                         )
  _____________________________________________________________________________________________
                                           SUMMONS IN A CIVIL ACTION
  _____________________________________________________________________________________________

  To:     District Attorney Linda Stanley
          11th Judicial District Attorney's Office
          136 Justice Center Road Suite 203
          Canon City, CO 81212
Case No. 1:23-cv-01108-DDD-SKC Document 14-3 filed 07/18/23 USDC Colorado pg 2 of
                                      2



           A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
  you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
  R. Civ. P.12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule
  12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
  attorney, whose name and address are:

           Jane Fisher-Byrialsen, #49133, 4600 Syracuse St. 9th Floor, Denver, CO 80237, jane@fblaw.org;
           Hollis Whitson, #32911, 1600 Stout St. Suite 1400, Denver, CO 80202;
           Hollis@SamlerandWhitson.com
           Iris Eytan, 2701 Lawrence St. Suite 108, Denver, CO 80205; iris@eytanlawfirm.com

          If you fail to respond, judgment by default will be entered against you for the relief demanded in the
  complaint. You also must file your answer or motion with the court.

                                                                 CLERK OF THE COURT

  Date: ______________________                                   ______________________________________
                                                                 Signature of Clerk or Deputy Clerk
